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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

Benjamin Garner, et al.
                                        Plaintiff,
v.                                                           Case No.: 1:20−cv−04693
                                                             Honorable John Z. Lee
Allstate Insurance Company
                                        Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, August 14, 2020:


         MINUTE entry before the Honorable John Z. Lee: A Rule 16 initial status hearing
is set for 10/7/20 at 8:45 a.m. The parties are directed to file a joint initial status report by
10/1/20. The report should comply with the requirements for initial joint status reports set
forth in the Initial Status Conference standing order, which can be found on the Court's
website. In light of the COVID−19 pandemic and the related General Orders, the Court
finds that it is necessary to conduct the status hearing via telephone conference. The
call−in number is 888−273−3658 and the access code is 1637578. Counsel of record will
receive a separate email at least 12 hours prior to the start of the telephonic hearing with
instructions on how to join the call. All persons granted remote access to proceedings are
reminded of the general prohibition against photographing, recording, and rebroadcasting
of court proceedings. Violation of these prohibitions may result in court−imposed
sanctions, including removal of court issued media credentials, restricted entry to future
hearings, denial of entry to future hearings, or any other sanctions deemed necessary by
the Court. All participants should review the Court's standing order regarding telephone
conferences that is on Judge Lee's website, which can be found at:
https://www.ilnd.uscourts.gov/judge−info.aspx?4Qf5 zc8loCI5U7rfMP9DHw==Mailed
notice(ca, )




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